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     EXHIBIT
     EXHIBIT 11
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                    Executive                                              Grant                                of Clemency
TO ALL            TO     WHOM           THESE          PRESENTS                       SHALL             COME,              GREETING:


             I HEREBY                COMMUTE                    the       sentences             of death           imposed           as   to each        of the      following          named

persons      to sentences            of life    imprisonment                    without           the      possibility            of parole,      leaving          intact     and     in effect

for each         named      person       all other         conditions            and      components                     of the    sentences          previously            imposed        upon

them.      The     following         persons         are     recipients               of this      grant        of clemency:



                                                       Name                                                                                Reg.        No.

                               SHANNON                WAYNE                 AGOFSKY                                                       06267-045


                               BILLIE          JEROME              ALLEN                                                                  26901-044


                               AQUILIA            MARCIVICCI                          BARNETTE                                            12599-058


                               BRANDON                 LEON             BASHAM                                                            98940-071


                               ANTHONY                 GEORGE                 BATTLE                                                      11451-056


                               MEIER           JASON           BROWN                                                                      11364-021


                               CARLOS            DAVID                CARO                                                                37786-079


                               WESLEY            PAUL             COONCE,                  JR.,        A/K/A
                                                                                                                                          30011-039
                               WESLEY            PAUL             COONCE


                               BRANDON                 MICHAEL                   COUNCIL                                                  63961-056


                               CHRISTOPHER                       EMORY                  CRAMER,                  A/K/A
                                                                                                                                          10422-081
                               CHRISTOPHER                       CRAMER


                               LEN       DAVIS                                                                                            24325-034


                               JOSEPH           EBRON                                                                                     08655-007


                               RICKY           ALLEN             FACKRELL                                                                 12324-081


                               EDWARD                LEON             FIELDS,             JR.,     A/K/A
                                                                                                                                          04136-063
                               EDWARD                LEON             FIELDS


                               CHADRICK                    EVAN           FULKS                                                            16617-074


                               MARVIN             CHARLES                     GABRION,                     II, A/K/A
                                                                                                                                          09184-055
                               MARVIN             CHARLES                     GABRION


                               EDGAR            BALTAZAR                      GARCIA                                                      28132-177


                               THOMAS                MOROCCO                    HAGER,                  A/K/A
                                                                                                                                          08596-007
                               THOMAS                HAGER


                               CHARLES               MICHAEL                    HALL,             A/K/A
                                                                                                                                           03766-036
                               CHARLES               HALL


                               NORRIS            G. HOLDER                                                                                 26902-044


                                RICHARD              ALLEN                JACKSON                                                          16669-058




                                                                                                   1
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                 JURIJUS KADAMOVAS                                     21050-112
                 DARYL LAWRENCE                                        66476-061
                 IOURI MIKHEL, A/K/A
                 IOURI GHERMAN MIKHEL                                  23675-112
                 RONALD MIKOS                                          20716-424
                 JAMES H. ROANE, JR., A/K/A
                 JAMES H. ROANE                                        32323-083
                 JULIUS OMAR ROBINSON                                  26190-177
                 DAVID ANTHONY RUNYON                                   57997-083
                 RICARDO SANCHEZ, JR., A/K/A
                 RICARDO SANCHEZ                                        73820-004
                 THOMAS STEVEN SANDERS                                  15967-043
                 KABONI SAVAGE                                          58232-0066
                 MARK ISAAC SNARR                                       11093-081
                 REJON TAYLOR, A/K/A
                 REJON L. TAYLOR                                        aes

                 RICHARD TIPTON                                         32922-083
                 JORGE AVILA TORREZ                                     16054-084
                 DANIEL TROYA                                           75817-004
                 ALEJANDRO ENRIQUE RAMIREZ
                 UMANA, A/K/A ALEJANDRO ENRIQUE                         Beads
                 UMANA


       I HEREBY      DESIGNATE,        direct, and empower the Pardon Attorney, as my representative,

to deliver to the Bureau of Prisons a certified copy of the signed warrant as evidence of my action in
order to carry into effect the terms of these grants of clemency, and to deliver a certified copy of the
signed warrant to each person to whom I have granted clemency as evidence of my action.
       IN TESTIMONY WHEREOF,               | have hereunto signed my name and caused the seal of the
Department of Justice to be affixed.


                                                   Done at the City of Washington this 23rd
                                                   day of December in the year of our Lord
                                                   Two Thousand and Twenty-Four and of the
                                                   Independence of the United States the
                                                   Two Hundred and Forty-Ninth.




                                                      path um}
                                                   JOSEPH R. BIDEN JR.
                                                     President
